 

* €ase 2:05-mc-72400-PJD ECF No. 3, PagelD.26 Filed 08/12/05 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
vs. Case No. 05X72400
Hon. Patrick J. Duggan
SANDRA MARIE ANDERSON
Defendant,

and

WILLIAM ANDERSON, et al
Garnishees
/

 

STIPULATION FOR ENTRY OF
GARNISHEE ORDER TO PAY

This matter having come before the Court upon a Writ of Garnishment, Sandra Marie
Anderson having consented to the garnishment, no objections having been filed, the parties through

their undersigned counsel consent to the entry of an order to pay.

  

 

 

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